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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF ALABAMA
                                       SOUTHERN DIVISION

In Re: Subpoena issued in the matter of           *

PAUL JACKSON and KIM JACKSON,                     *
                                                          Misc. Civil Case No. 1:17-mc-00015
                                                  *
           Plaintiffs,                                    (Subpoena issued in the
                                                  *       United States District Court for the
v.                                                        Easter District of Texas, Sherman Division,
                              *                           Civil Action No. 4:16-CV-988)
ALLSTATE VEHICLE AND PROPERTY
INSURANCE COMPANY,            *

           Defendant.                             *

                       NON-PARTY PILOT CATASTROPHE SERVICES, INC’S
                      OBJECTIONS TO SUBPOENA TO PRODUCE DOCUMENTS

           Pilot Catastrophe Services, Inc. (“Pilot”) is an Alabama corporation whose principal

place of business is in Mobile, Alabama. Pilot is not a party to the above-styled litigation

currently pending in the United States District Court for the Eastern District of Texas, but

recently received a subpoena1 from Defendant, Allstate Vehicle and Property Insurance

Company’s (“Allstate”) counsel. Although Pilot will attempt to work with Allstate to resolve

issues related to the subpoena, Pilot hereby objects to the subpoena pursuant to Fed. R. Civ. P. 45

as follows:

           1.       Pilot is a separate and distinct Alabama corporation with its principal place of

business in Mobile, Alabama. No officer of Pilot is an officer of Allstate and no officer of

Allstate is an officer of Pilot. No director of Pilot is a director of Allstate and no director of

Allstate is a director of Pilot. Pilot performs certain adjusting services for Allstate. While Pilot




1
    See exhibit A, attached hereto.

                                                                                                        1
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objects to the subpoena on the grounds stated below, Pilot is reviewing various materials via

Pacer and is seeking to resolve with Allstate’s counsel any disputes arising from the subpoena.

           2.       First, Pilot objects to the subpoena on the grounds that it does not allow sufficient

time for Pilot to comply with the subpoena, given that the subpoena was served on Friday,

November 10 and calls for production on Monday morning, November 13. Nevertheless, given

the limited scope of the information subpoenaed, Pilot will attempt to timely respond. Pilot and

Allstate have agreed that any production by Pilot will be pursuant to the Protective Order2 in the

Jackson v. Allstate case, and that Allstate will seek protection of any documents produced

pursuant to that Protective Order.

           3.       Second, Pilot objects to the document request in the subpoena in that it seeks

private, proprietary, trade secret and confidential documents and records of Pilot and/or Pilot

personnel that, if revealed, could be highly detrimental and damaging to Pilot’s business

relationship with Pilot’s past, current, and potential customer clients, as well as its relationship

with its employees. Revelation of such information also could give Pilot’s competitors an unfair

advantage in a highly competitive business. Requiring Pilot to search for, review, and provide

responsive, relevant, discoverable materials, at the potential risk to its relationship with its

customer-clients and its employees, is potentially unfair, unnecessary, and highly prejudicial.

Nevertheless, given the limited scope of the information subpoenaed and the Protective Order,

Pilot will attempt to timely respond pursuant to the Protective Order attached to the subpoena.

           4.       Third, Pilot objects on the grounds that the document request – “Adjuster Binder

with photographs provided to Pilot adjuster Claud Wright” – is vague and confusing and not

limited in time or scope, and overly broad and unduly burdensome. The request does not provide

Pilot with sufficient information to narrow its search to locate responsive documents.

2
    See exhibit B, attached hereto.

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       5.     In addition to the objections set forth above, Pilot states the following objections

to the subpoena:

                      a.     Objection to the extent that the requests, separately and severally,
              are not reasonably calculated to lead to relevant, admissible evidence or are
              otherwise not needed to resolve the issues of this civil action.

                      b.     Objection to the extent that information which is sought is
              privileged, proprietary, confidential, and/or trade secret.

                     c.      Objection to the extent that information sought is attorney work
              product and/or attorney-client privileged communications.

                     d.     Objection to the extent that the information seeks information that
              invades or may invade the privacy of Pilot or an employee.

       WHEREFORE, Pilot objects to the subpoena as set forth above.



                                             Respectfully submitted,

                                                   s/David F. Walker
                                             DAVID F. WALKER
                                             Attorney for Pilot
OF COUNSEL:
CROSBY LAW FIRM PC
6404 Hillcrest Park Court
Mobile, Alabama 36695
Telephone: 251-476-3000
Facsimile:     251-776-5750
Email:         david@crosby.law




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                                 CERTIFICATE OF SERVICE

        I hereby certify that I have on this the 13th day of November, 2017, served a true and
correct copy of the foregoing instrument upon the attorney who issued the subpoena by email
and by placing same in the United States mail, first class postage prepaid and properly addressed
to:

       David G. Allen
       901 Main Street
       Suite 6200
       Dallas, TX 75202-3790
       Allen@stacyconder.com

                                                    s/David F. Walker
                                             DAVID F. WALKER




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                    EXHIBIT B
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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

  PAUL JACKSON AND KIM JACKSON,                       §
                                                      §
                 Plaintiffs,                          §    CIVIL ACTION NO. 4:16-CV-00988
                                                      §    JUDGE MAZZANT/JUDGE JOHNSON
  v.                                                  §
                                                      §
  ALLSTATE VEHICLE AND PROPERTY                       §
  INSURANCE COMPANY,                                  §
                                                      §
                 Defendant.                           §

                                      PROTECTIVE ORDER

                               Proceedings and Information Governed.

        1.      This Order (AProtective Order@) is made under Fed. R. Civ. P. 26(c). It governs any

 document, information, or other thing furnished by any party to any other party, and it includes

 any nonparty who receives a subpoena in connection with this action. The information protected

 includes, but is not limited to: answers to interrogatories; answers to requests for admission;

 responses to requests for production of documents; deposition transcripts and videotapes;

 deposition exhibits; and other writings or things produced, given or filed in this action that are

 designated by a party as AConfidential Information@ or AConfidential Attorney Eyes Only

 Information@ in accordance with the terms of this Protective Order, as well as to any copies,

 excerpts, abstracts, analyses, summaries, descriptions, or other forms of recorded information

 containing, reflecting, or disclosing such information.

                          Designation and Maintenance of Information.

        2.      For purposes of this Protective Order, (a) the AConfidential Information@

 designation means that the document is comprised of trade secrets or commercial information that

 is not publicly known and is of technical or commercial advantage to its possessor, in accordance

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 with Fed. R. Civ. P. 26(c)(7), or other information required by law or agreement to be kept

 confidential and (b) the AConfidential Attorney Eyes Only@ designation means that the document

 is comprised of information that the producing party deems especially sensitive, which may

 include, but is not limited to, confidential research and development, financial, technical,

 marketing, or any other sensitive trade secret information. Confidential Information and

 Confidential Attorney Eyes Only Information does not include, and this Protective Order does not

 apply to, information that is already in the knowledge or possession of the party to whom

 disclosure is made unless that party is already bound by agreement not to disclose such

 information, or information that has been disclosed to the public or third persons in a manner

 making such information no longer confidential.

        3.      Documents and things produced during the course of this litigation within the scope

 of paragraph 2(a) above, may be designated by the producing party as containing Confidential

 Information by placing on each page and each thing a legend, or otherwise conspicuously

 designating electronically stored information, substantially as follows:

                              CONFIDENTIAL INFORMATION
                             SUBJECT TO PROTECTIVE ORDER

 Documents and things produced during the course of this litigation within the scope of paragraph

 2(b) above may be designated by the producing party as containing Confidential Attorney Eyes

 Only Information by placing on each page and each thing a legend, or otherwise conspicuously

 designating electronically stored information, substantially as follows:

               CONFIDENTIAL ATTORNEY EYES ONLY INFORMATION
                       SUBJECT TO PROTECTIVE ORDER

 A party may designate information disclosed at a deposition as Confidential Information or

 Confidential Attorney Eyes Only Information by requesting the reporter to so designate the

 transcript or any portion of the transcript at the time of the deposition. If no such designation is
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 made at the time of the deposition, any party will have fourteen (14) calendar days after the date

 of the deposition to designate, in writing to the other parties and to the court reporter, whether the

 transcript is to be designated as Confidential Information or Confidential Attorneys Eyes Only

 Information. If no such designation is made at the deposition or within this fourteen (14) calendar

 day period (during which period, the transcript must be treated as Confidential Attorneys Eyes

 Only Information, unless the disclosing party consents to less confidential treatment of the

 information), the entire deposition will be considered devoid of Confidential Information or

 Confidential Attorneys Eyes Only Information. Each party and the court reporter must attach a

 copy of any final and timely written designation notice to the transcript and each copy of the

 transcript in its possession, custody or control, and the portions designated in such notice must

 thereafter be treated in accordance with this Protective Order. It is the responsibility of counsel for

 each party to maintain materials containing Confidential Information or Confidential Attorney

 Eyes Only Information in a secure manner and appropriately identified so as to allow access to

 such information only to such persons and under such terms as is permitted under this Protective

 Order.

                                 Inadvertent Failure to Designate.

          4.    The inadvertent failure to designate or withhold any information as confidential or

 privileged will not be deemed to waive a later claim as to its confidential or privileged nature, or

 to stop the producing party from designating such information as confidential at a later date in

 writing and with particularity. The information must be treated by the receiving party as

 confidential from the time the receiving party is notified in writing of the change in the designation.

                                     Challenge to Designations.

          5.    A receiving party may challenge a producing party=s designation at any time. Any

 receiving party disagreeing with a designation may request in writing that the producing party
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 change the designation. The producing party will then have ten (10) business days after receipt

 of a challenge notice to advise the receiving party whether or not it will change the designation.

 If the parties are unable to reach agreement after the expiration of this ten (10) business day

 time-frame, and after the conference required under LR 7. 1(a), the receiving party may at any

 time thereafter seek an order to alter the confidential status of the designated information. Until

 any dispute under this paragraph is ruled upon by the presiding judge, the designation will remain

 in full force and effect, and the information will continue to be accorded the confidential treatment

 required by this Protective Order.

                        Disclosure and Use of Confidential Information.

        6.      Information designated as Confidential Information or Confidential Attorney Eyes

 Only Information may only be used for purposes of preparation, trial, and appeal of this action.

 Confidential Information or Confidential Attorney Eyes Only Information may not be used under

 any circumstances for any other purpose.

        7.      Subject to paragraph 9 below, Confidential Information may be disclosed by the

 receiving party only to the following individuals, provided that such individuals are informed of

 the terms of this Protective Order: (a) two (2) employees of the receiving party who are required

 in good faith to provide assistance in the conduct of this litigation, including any settlement

 discussions, and who are identified as such in writing to counsel for the designating party in

 advance of the disclosure; (b) two (2) in-house counsel who are identified by the receiving party;

 (c) outside counsel for the receiving party; (d) supporting personnel employed by (b) and (c), such

 as paralegals, legal secretaries, data entry clerks, legal clerks, and private photocopying services;

 (e) experts or consultants; and (f) any persons requested by counsel to furnish services such as

 document coding, image scanning, mock trial, jury profiling, translation services, court reporting



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 services, demonstrative exhibit preparation, or the creation of any computer database from

 documents.

        8.      Subject to paragraph 9 below, Confidential Attorney Eyes Only Information may

 be disclosed by the receiving party only to the following individuals, provided that such individuals

 are informed of the terms of this Protective Order: (a) outside counsel for the receiving party: (b)

 supporting personnel employed by outside counsel, such as paralegals, legal secretaries, data entry

 clerks, legal clerks, private photocopying services; (c) experts or consultants; and (d) those

 individuals designated in paragraph 11(c).

        9.      Further, prior to disclosing Confidential Information or confidential Attorney Eyes

 Only Information to a receiving party=s proposed expert, consultant, or employees, the receiving

 party must provide to the producing party a signed Confidentiality Agreement in the form attached

 as Exhibit A, the resume or curriculum vitae of the proposed expert or consultant, the expert or

 consultant's business affiliation, and any current and past consulting relationships in the industry.

 The producing party will thereafter have ten (10) business days from receipt of the Confidentiality

 Agreement to object to any proposed individual. The objection must be made for good cause and

 in writing, stating with particularity the reasons for the objection. Failure to object within ten (10)

 business days constitutes approval. If the parties are unable to resolve any objection, the receiving

 party may apply to the presiding judge to resolve the matter. There will be no disclosure to any

 proposed individual during the ten (10) business day objection period, unless that period is waived

 by the producing party, or if any objection is made, until the parties have resolved the objection,

 or the presiding judge has ruled upon any resultant motion.

        10.     Counsel is responsible for the adherence by third-party vendors to the terms and

 conditions of this Protective Order. Counsel may fulfill this obligation by obtaining a signed

 Confidentiality Agreement in the form attached as Exhibit B.
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        11.       Confidential Information or Confidential Attorney Eyes Only Information may be

 disclosed to a person who is not already allowed access to such information under this Protective

 Order if:

        (a) the information was previously received or authored by the person or was authored or

 received by a director, officer, employee or agent of the company for which the person is testifying

 as a designee under Fed. R. Civ. P. 30(b)(6);

        (b) the designating party is the person or is a party for whom the person is a director, officer,

 employee, consultant or agent; or

        (c) counsel for the party designating the material agrees that the material may be disclosed

 to the person.

        In the event of disclosure under this paragraph, only the reporter, the person, his or her

 counsel, the presiding judge, and persons to whom disclosure may be made and who are bound by

 this Protective Order, may be present during the disclosure or discussion of Confidential

 Information. Disclosure of material pursuant to this paragraph does not constitute a waiver of the

 confidential status of the material so disclosed.

                                       Nonparty Information.

        12.       The existence of this Protective Order must be disclosed to any person producing

 documents, tangible things, or testimony in this action who may reasonably be expected to desire

 confidential treatment for such documents, tangible things or testimony. Any such person may

 designate documents, tangible things, or testimony confidential pursuant to this Protective Order.

                                 Filing Documents With the Court.

        13.       If any party wishes to submit Confidential Information to the court, the submission

 must be filed only under seal on CM/ECF if filed electronically or if filed in hard copy in a sealed

 envelope bearing the caption of this action and a notice in the following form:
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                             CONFIDENTIAL INFORMATION
                                           [caption]
                         This envelope, which is being filed under seal,
                      contains documents that are subject to a Protective
                   Order governing the use of confidential discovery material.

                                            No Prejudice.

          14.   Producing or receiving confidential information, or otherwise complying with the

 terms of this Protective Order, will not (a) operate as an admission by any party that any particular

 Confidential Information contains or reflects trade secrets or any other type of confidential or

 proprietary information; (b) prejudice the rights of a party to object to the production of

 information or material that the party does not consider to be within the scope of discovery; (c)

 prejudice the rights of a party to seek a determination by the presiding judge that particular

 materials be produced; (d) prejudice the rights of a party to apply to the presiding judge for further

 protective orders; or (e) prevent the parties from agreeing in writing to alter or waive the provisions

 or protections provided for in this Protective Order with respect to any particular information or

 material.

                                      Conclusion of Litigation.

          15.   Within sixty (60) calendar days after final judgment in this action, including the

 exhaustion of all appeals, or within sixty (60) calendar days after dismissal pursuant to a settlement

 agreement, each party or other person subject to the terms of this Protective Order is under an

 obligation to destroy or return to the producing party all materials and documents containing

 Confidential Information or Confidential Attorney Eyes Only Information, and to certify to the

 producing party that this destruction or return has been done. However, outside counsel for any

 party is entitled to retain all court papers, trial transcripts, exhibits, and attorney work provided

 that any such materials are maintained and protected in accordance with the terms of this Protective

 Order.
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                                            Other Proceedings.

            16.      By entering this Protective Order and limiting the disclosure of information in this

     case, the presiding judge does not intend to preclude another court from finding that information

     may be relevant and subject to disclosure in another case. Any person or party subject to this

     Protective Order who may be subject to a motion to disclose another party=s information designated

     Confidential pursuant to this Protective Order must promptly notify that party of the motion so

     that the party may have an opportunity to appear and be heard on whether that information should

     be disclosed.

                                                 Remedies.

            17.      It is Ordered that this Protective Order will be enforced by the sanctions set forth

     in Fed. R. Civ. P. 37(b) and any other sanctions as may be available to the presiding judge,

     including the power to hold parties or other violators of this Protective Order in contempt. All

     other remedies available to any person injured by a violation of this Protective Order are fully
.
     reserved.

            18.      Any party may petition the presiding judge for good cause shown if the party

     desires relief from a term or condition of this Protective Order.

            It is SO ORDERED.
             SIGNED this 11th day of July, 2017.

                        .


                                                   ____________________________________
                                                   KIMBERLY C. PRIEST JOHNSON
                                                   UNITED STATES MAGISTRATE JUDGE




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                                             Exhibit A

                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

  PAUL JACKSON AND KIM JACKSON,                    §
                                                   §
                 Plaintiffs,                       §     CIVIL ACTION NO. 4:16-CV-00988
                                                   §     JUDGE MAZZANT/JUDGE JOHNSON
  v.                                               §
                                                   §
  ALLSTATE VEHICLE AND PROPERTY                    §
  INSURANCE COMPANY,                               §
                                                   §
                 Defendant.                        §

                       CONFIDENTIALITY AGREEMENT FOR EXPERT,
                       CONSULTANT OR EMPLOYEES OF ANY PARTY

 I hereby affirm that:

        Information, including documents and things, designated as AConfidential Information,@ or

 AConfidential Attorney Eyes Only Information,@ as defined in the Protective Order entered in the

 above-captioned action (AProtective Order@), is being provided to me pursuant to the terms and

 restrictions of the Protective Order.

        I have been given a copy of and have read the Protective Order.

        I am familiar with the terms of the Protective Order and I agree to comply with and to be

 bound by its terms.

        I submit to the jurisdiction of this Court for enforcement of the Protective Order.

        I agree not to use any Confidential Information or Confidential Attorney Eyes Only

 Information disclosed to me pursuant to the Protective Order except for purposes of the

 above-captioned litigation and not to disclose any of this information to persons other than those

 specifically authorized by the Protective Order, without the express written consent of the party

 who designated the information as confidential or by order of the presiding judge.
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         I also agree to notify any stenographic, clerical or technical personnel who are required to

  assist me of the terms of this Protective Order and of its binding effect on them and me.

         I understand that I am to retain all documents or materials designated as or containing

  Confidential Information or Confidential Attorney Eyes Only Information in a secure manner, and

  that all such documents and materials are to remain in my personal custody until the completion

  of my assigned duties in this matter, whereupon all such documents and materials, including all

  copies thereof, and any writings prepared by me containing any Confidential Information or

  Confidential Attorney Eyes Only Information are to be returned to counsel who provided me with

  such documents and materials.




                                                       _________________________________
                                                                      Signed



                                                       _________________________________
                                                                   Printed Name



                                                       _________________________________
                                                                       Date




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                                              Exhibit B

                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

   PAUL JACKSON AND KIM JACKSON,                    §
                                                    §
                  Plaintiffs,                       §     CIVIL ACTION NO. 4:16-CV-00988
                                                    §     JUDGE MAZZANT/JUDGE JOHNSON
   v.                                               §
                                                    §
   ALLSTATE VEHICLE AND PROPERTY                    §
   INSURANCE COMPANY,                               §
                                                    §
                  Defendant.                        §

            CONFIDENTIALITY AGREEMENT FOR THIRD-PARTY VENDORS

  I hereby affirm that:

         Information, including documents and things, designated as AConfidential Information,@ or

  AConfidential Attorney Eyes Only Information,@ as defined in the Protective Order entered in the

  above-captioned action (AProtective Order@), is being provided to me pursuant to the terms and

  restrictions of the Protective Order.

         I have been given a copy of and have read the Protective Order.

         I am familiar with the terms of the Protective Order and I agree to comply with and to be

  bound by its terms.

         I submit to the jurisdiction of this Court for enforcement of the Protective Order.

         I agree not to use any Confidential Information or Confidential Attorney Eyes Only

  Information disclosed to me pursuant to the Protective Order except for purposes of the

  above-captioned litigation and not to disclose any of this information to persons other than those

  specifically authorized by the Protective Order, without the express written consent of the party

  who designated the information as confidential or by order of the presiding judge.



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                                           _________________________________
                                                          Signed



                                           _________________________________
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                                           _________________________________
                                                           Date




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